                                                     EXHIBIT "B"
                                                         Monday, September 21, 2020 at 15:40:34 Eastern Daylight Time

Subject:    Remington / Magpul
Date:       Sunday, September 20, 2020 at 5:30:54 PM Eastern Daylight Time
From:       Rinehart, Karen
To:         Mark Schneiderman
CC:         Taylor, Jennifer, Carter, MaH
AGachments: AssumpJonAssignmentNoJce_DI420_8_21_20.pdf,
            BiddingProceduresOrder8_20_20_DI_411.pdf

We are in receipt of your email thread (below) commencing on 9/11/20. Please note that the Order
Establishing Bidding Procedures RelaJng to the Sales of All or a PorJon of the Debtors' Assets, entered
on 8/20/20 (Docket No. 411) (the "Bidding Procedures Order") established 9/1/20 at 4:00 p.m. CDT as
the Sale ObjecJon Deadline and 9/8/20 at 4:00 p.m. CDT as the AssumpJon and Assignment ObjecJon
Deadline. See Bidding Procedures Order, para. 4. See also Bidding Procedures Order, para. 24, which
sets forth the requirements for a counterparty objecJon regarding the proposed assumpJon and
assignment and/or cure costs. Such objecJons were required to be ﬁled and served not later than
4:00 p.m. CDT on the day that is fourteen days following service of the AssumpJon and Assignment
NoJce. The AssumpJon and Assignment NoJce was ﬁled and served on 8/21/20 (Docket 420), and
Magpul is listed as Item No. 76 thereon. Accordingly, the response deadline was 9/4/20 at 4:00 p.m.
CDT. Please refer to Bidding Procedures Order para. 35 for the condiJons under which parJes are
deemed to have consented to any Sale TransacJon, including the transfer of the Debtors' right, Jtle,
and interest in, to, and under the Debtors' Acquired Assets free and clear of any and all liens, claims,
encumbrances, and other interests in accordance with a deﬁniJve agreement for any Sale TransacJon.

Copies of the Bidding Procedures Order and the AssumpJon and Assignment NoJce are aHached
hereto for your ease of reference.

Regards,

O’Melveny
Karen Rinehart
kr nehart@omm.com
O: 213-430-6686


Of Counse
O Me veny & Myers LLP
400 South Hope Street, 18th F oor
Los Ange es, CA 90071

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From: Mark Schneiderman <mschneiderman@magpul.com>
Sent: Wednesday, September 16, 2020 11:28 AM
To: Carter, MaH <maHcarter@omm.com>
Cc: Taylor, Jennifer <jtaylor@omm.com>
Subject: Re: ROC Sale -- Magpul

[EXTERNAL MESSAGE]
I’ll assume we have an extension unless you say otherwise. I realize you are busy on other more pressing
maHers,

Mark

From: Mark Schneiderman <mschneiderman@magpul.com>
Date: Monday, September 14, 2020 at 12:50 PM
To: "Carter, MaH" <maHcarter@omm.com>
Cc: "Taylor, Jennifer" <jtaylor@omm.com>
Subject: Re: ROC Sale -- Magpul

Kindly conﬁrm that any objecJon deadlines are tolled so that we can avoid the need to ﬁle anything.

-Mark

From: "Carter, MaH" <maHcarter@omm.com>
Date: Friday, September 11, 2020 at 5:21 PM
To: Mark Schneiderman <mschneiderman@magpul.com>
Cc: "Taylor, Jennifer" <jtaylor@omm.com>
Subject: RE: ROC Sale -- Magpul

Mark,

Thanks; we’ll connect the right folks with you.

Regards,
Matt Carter

O'Melveny & Myers LLP
Direct tel: (213) 430-7802



From: Mark Schneiderman <mschneiderman@magpul.com>




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Sent: Friday, September 11, 2020 12:56 PM
To: Taylor, Jennifer <jtaylor@omm.com>; Carter, MaH <maHcarter@omm.com>
Subject: ROC Sale -- Magpul

[EXTERNAL MESSAGE]
Jennifer and MaH,

I also wanted to address a maHer related to Magpul and the sale of Remington’s assets, let me know who the
right person to talk to on this.

SituaJon 1:

There is a License Agreement dated January 23, 2008 between Magpul and Remington (i.e., Bushmaster
Firearms InternaJonal LLC). This relates to licenses for the product that is now called the ACR. This product
has not been refreshed and we assume that the intent is to reJre it, but wanted to conﬁrm. There has been
no formal communicaJons on this license, but Magpul would like clariﬁcaJon that it has been terminated.

Magpul is enJtled to an 8.5% royalty on Gross Sales. There is also a minimum annual sales volume, which has
not been met for many years. To the extent the License has not been terminated pre-peJJon, Magpul has a
claim (including post-peJJon admin) for minimum royalty payments. Given the 4,000 minimum order
quanJty and the ~$2,000 price per unit, the minimum expected royalty is $680,000 for any calendar year
period. It would take a more substanJve accounJng to determine the actual claims Magpul would assert if
Remington would assert that the License is sJll in force or aHempted to transfer it. We think it makes sense
to clean up the record.

We would propose to enter into a sJpulaJon clarifying that the License was terminated, eﬀecJve nunc pro
tunc to the peJJon date. We would also like to make clear that the debtors do not purport to sell this license
as a part of any sale transacJon.

SituaJon 2:

There are a number of Magpul products designed for the Remington 700 (e.g., the Pro chassis). These were
designed in consultaJon with and support of Remington. Magpul is also a supplier to Remington for a
number of parts. The Sale order free and clear language could be read to mean that Remington IP is being
sold free and clear of licenses (express or implied) to Magpul. However, Magpul takes the posiJon that
Remington agreed not to assert its IP against Magpul with respect to Magpul’s products for the 700 line or
otherwise. We would like the sale order to carve out express or implied licenses to Magpul from the free and
clear language. Although we don’t need anything speciﬁc on what the rights are, the sale order should not
purport to waive Magpul’s rights in this regard.

Let me know your preference on next steps, but (in light of the sale) I thought it might be helpful to ﬂag these
potenJal issues from the Magpul side.

-Mark Schneiderman, Esq.
Cell:




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